






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00087-CV







John McJunkin, Appellant






v.






James Jolly Clark, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 201ST JUDICIAL DISTRICT


NO. GN203382, HONORABLE SCOTT H. JENKINS, JUDGE PRESIDING 






M E M O R A N D U M   O P I N I O N




	Appellant John McJunkin and appellee James Jolly Clark have notified the Court that

they have reached a settlement agreement.  In order to effectuate their agreement, the parties jointly
request that the Court reverse the judgment in this case and remand to the trial court for further
proceedings to implement their settlement agreement.  See Tex. R. App. P. 42.1(a)(2)(A); Dunn v.
Canadian Oil &amp; Gas Servs. Inc., 908 S.W.2d 323, 324 (Tex. App.--El Paso 1995, no writ)
(reversing and remanding to effectuate settlement).  We grant the motion; without passing on the
merits of the appeal, we reverse the trial court's judgment and remand to the trial court for further
proceedings.

	The parties also request that the Court expedite issuance of the mandate.  See Tex.
R. App. P. 18.1(c).  We grant the request.  The mandate will issue on the same date as this opinion
and judgment.  The parties have also stipulated that each party will bear his own costs.



					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Patterson and Puryear


Reversed and Remanded on Joint Motion


Filed:   March 4, 2004


